                 UNITED STATES BANKRUPTCY COURT
                 MIDDLE DISTRICT OF PENNSYLVANIA
 Re: Eugene N McHugh
     Deborah R McHugh

                                                            Case No.: 1-18-03700HWV

                                                            Chapter 13
                      Debtor(s)

                            NOTICE OF FINAL CURE PAYMENT

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to
cure the pre-petition and post-petition default in the claim below has been paid in full and the
debtor(s) have completed all payments under the plan.

 PART 1: MORTGAGE INFORMATION
 Creditor Name:                  M&T
 Court Claim Number:             26
 Last Four of Loan Number:       9723
 Property Address if applicable: 1 Rumford Way

 PART 2: CURE AMOUNT
 Total cure disbursement made by the trustee:
 a.      Allowed prepetition arrearages:                                     $285.76
 b.      Prepetition arrearages paid by the trustee:                         $285.76
 c.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c):
 d.      Amount of postpetition fees, expenses, and charges                  $0.00
         recoverable under Bankruptcy Rule 3002.1(c) and paid
         by the trustee:
 e.      Allowed postpetition arrearage:                                     $0.00
 f.      Postpetition arrearage paid by the trustee:                         $0.00
 g.      Total b, d, and f:                                                  $285.76

 PART 3: POSTPETITION MORTGAGE PAYMENT
 Mortgage is/was paid directly by the debtor(s).
PART 4: A RESPONSE IS REQUIRED BY BANKRUPTCY RULE 3002.1(g)
Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their
counsel, and the trustee, within 21 days after service of this notice, a statement indicating
whether the creditor agrees that the debtor(s) have paid in full the amount required to cure the
default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs
and escrow amounts due, and (ii) consistent with §1322(b)(5) of the Bankruptcy Code, are
current on all postpetition payments as of the date of the response. Failure to file and serve the
statement may subject creditor to further action of the court, including possible sanctions.




Case 1:18-bk-03700-HWV          Doc 143     Filed 05/25/23      Entered 05/25/23 08:35:25          Desc
                                            Page 1 of 4
To assist in reconciling the claim, a history of payments made by the trustee is attached to copies
of this notice sent to the debtor(s) and the creditor.


Dated: May 25, 2023
                                                       Respectfully submitted,


                                                       /s/ Jack N. Zaharopoulos
                                                       Standing Chapter 13 Trustee
                                                       Suite A, 8125 Adams Drive
                                                       Hummelstown, PA 17036
                                                       Phone: (717) 566-6097
                                                       Fax: (717) 566-8313
                                                       email: info@pamd13trustee.com




Case 1:18-bk-03700-HWV          Doc 143      Filed 05/25/23     Entered 05/25/23 08:35:25         Desc
                                             Page 2 of 4
                        UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


    Re:       Eugene N McHugh
              Deborah R McHugh                               Case No.: 1-18-03700HWV
                                                             Chapter 13



                                 CERTIFICATE OF SERVICE


 I certify that I am more than 18 years of age and that on May 25, 2023 I served a copy of this
 Notice of Final Cure Payment on the following parties by 1st Class mail from Hummelstown, PA,
 unless served electronically.

   Served Electronically
   John Hyams, Esquire
   2023 N 2nd St
   Suite 203
   Harrisburg PA 17102


   Served by First Class Mail
   M&T Bank
   PO Box 1288
   Buffalo NY 14240-01288

   Eugene N McHugh
   Deborah R McHugh
   1 Rumford Way
   Mechanicsburg PA 17050

  I certify under penalty of perjury that the foregoing is true and correct.



  Date: May 25, 2023                                    /s/ Liz Joyce
                                                        Office of the Standing Chapter 13 Trustee
                                                        Jack N. Zaharopoulos
                                                        Suite A, 8125 Adams Dr.
                                                        Hummelstown, PA 17036
                                                        Phone: (717) 566-6097
                                                        email: info@pamd13trustee.com




Case 1:18-bk-03700-HWV         Doc 143      Filed 05/25/23      Entered 05/25/23 08:35:25     Desc
                                            Page 3 of 4
                                                Disbursements for Claim
Case: 18-03700            EUGENE N MCHUGH
         M & T BANK
                                                                                        Sequence: 24
         P.O. BOX 1288
                                                                                           Modify:
                                                                                       Filed Date:
         BUFFALO, NY 14240-
                                                                                       Hold Code:
 Acct No: 1 Rumford Way - PRE-ARREARS - 9723
         ARREARS - 1 RUMFORD WAY


                                                  Debt:               $285.76       Interest Paid:              $0.00
        Amt Sched:                $225,390.00                                         Accrued Int:               $0.00
         Amt Due:         $0.00                    Paid:              $285.76        Balance Due:                $0.00

Claim name                               Type      Date             Check #      Principal    Interest       Total Reconciled
                                                                                                   DisbDescrp
 5200        M & T BANK
520-0 M & T BANK                                 04/11/2019         9005915       $285.76       $0.00     $285.76 04/11/2019


                                                                 Sub-totals:     $285.76        $0.00    $285.76

                                                                Grand Total:     $285.76        $0.00




         Case 1:18-bk-03700-HWV            Doc 143         Filed 05/25/23      Entered 05/25/23 08:35:25      Desc          1
                                                           Page 4 of 4
